              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 1 of 31 Page ID #:926




                        1 McCormick, Barstow, Sheppard,
                          Wayte & Carruth LLP
                        2 James P. Wagoner, #58553
                            jim.wagoner@mccormickbarstow.com
                        3 Lejf E. Knutson, #234203
                            lejf.knutson@mccormickbarstow.com
                        4 Nicholas H. Rasmussen, #285736
                            nrasmussen@mccormickbarstow.com
                        5 Graham A. Van Leuven, #295599
                            graham.vanleuven@mccormickbarstow.com
                        6 7647 North Fresno Street
                          Fresno, California 93720
                        7 Telephone: (559) 433-1300
                          Facsimile: (559) 433-2300
                        8
                          Attorneys for Plaintiff and Counter-
                        9 Defendant New York Marine and General
                          Insurance Company
                       10
                                                 UNITED STATES DISTRICT COURT
                       11
                                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                       12
                       13
                          NEW YORK MARINE AND                            Case No. 2:22-cv-04685-GW(PDx)
                       14 GENERAL INSURANCE COMPANY,
                          a New York corporation,                        Consolidated for Pre-Trial Purposes
                       15                                                with 2:21-cv-5832-GW (PDx)
                                     Plaintiff,
                       16                                                MEMORANDUM OF POINTS AND
                               v.                                        AUTHORITIES IN SUPPORT OF
                       17                                                OPPOSITION TO DEFENDANT
                          AMBER HEARD, an individual,                    AND COUNTERCLAIMANT
                       18                                                AMBER HEARD’S MOTION FOR
                                     Defendant.                          JUDGMENT ON THE PLEADINGS
                       19
                                                                                       and
                       20
                                                                         MEMORANDUM OF POINTS AND
                       21 AMBER HEARD, an individual,                    AUTHORITIES IN SUPPORT OF
                                                                         NEW YORK MARINE’S CROSS-
                       22               Counter-Claimant                 MOTION FOR JUDGMENT ON
                                                                         THE PLEADINGS
                       23        v.
                                                                         Date: July 27, 2023
                       24 NEW YORK MARINE AND                            Time: 8:30 a.m
                          GENERAL INSURANCE COMPANY,                     Dept.: 9D
                       25 a New York Corporation,
                                                                         Hon. George H. Wu
                       26               Counter-Defendant
                       27
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP              MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720        PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 2 of 31 Page ID #:927




                           1                                       TABLE OF CONTENTS
                           2                                                                                                                Page
                           3 I.     INTRODUCTION ............................................................................................. 1
                           4 II.    NY MARINE’S IS ENTITLED TO A DECLARATORY JUDGMENT
                                    REGARDING ITS DUTIES TO DEFEND AND INDEMNIFY..................... 2
                           5
                                    A.      The Settlement Of The Depp v. Heard Action Does Not Moot The
                           6                Dispute Regarding NY Marine’s Duties And Obligations ..................... 2
                           7                1.       The Issue Of Whether NY Marine Has An Obligation To
                                                     Indemnify Is Not Moot ................................................................. 2
                           8
                                            2.       The Issue Of Whether NY Marine Was Obligated To
                           9                         Defend Heard Is Not Moot ........................................................... 3
                       10           B.      NY Marine’s Third Cause Of Action Seeking A Declaratory
                                            Determination That It Had No Duty To Defend Heard In The Depp
                       11                   v. Heard Action Pursuant To California Insurance Code §533 Is
                                            Not Moot And Should Be Determined In NY Marine’s Favor As
                       12                   A Matter Of Law ..................................................................................... 5
                       13                   1.       Because The NY Marine Policy Was Issued To Heard In
                                                     California, Insurance Code §533 Applies .................................... 5
                       14
                                            2.       The Claims In The Depp v. Heard Action Alleged Liability
                       15                            Solely For Willful Acts For Which Insurance Coverage Is
                                                     Prohibited Under Insurance Code §533 ....................................... 6
                       16
                                                     a.       A “Willful” Act For Purposes Of Insurance Code
                       17                                     §533 Is One Committed With An Intent To Injury ............ 6
                       18                            b.       Proof Of Defamation By Implication Under Virginia
                                                              Law Requires Proof Of An Intent To Injure ...................... 8
                       19
                                            3.       Insurance Code §533 Applies To Preclude NY Marine’s
                       20                            Duty To Defend Heard In The Depp v. Heard action ................ 11
                       21                            a.       Insurance Code §533 Precludes A Duty To Defend
                                                              Where The Action Against The Insured Only Alleges
                       22                                     Willful Acts ...................................................................... 11
                       23                            b.       Since Heard Could Only Be Liable In Depp v. Heard
                                                              For “Willful” Acts, She Had No Reasonable
                       24                                     Expectation Of A Defense................................................ 14
                       25           C.      NY Marine’s Fourth Cause Of Action For Declaratory Relief
                                            Based On Heard’s Lack Of Cooperation Is Not Moot, But Should
                       26                   Be Determined In NY Marine’s Favor As A Matter Of Law ............... 16
                       27 III.      CONCLUSION ............................................................................................... 21
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                                  i
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 3 of 31 Page ID #:928




                           1                                      TABLE OF AUTHORITIES
                           2                                                                                                             Page
                           3 CASES
                           4 Aetna Cas. & Sur. Co. v. Sheft,
                                    989 F.2d 1105 (9th Cir. 1993) ..................................................................... 7, 13
                           5
                             Aetna Cas. & Sur. Co. v. Superior Ct.,
                           6        19 Cal.App.4th 320 (1993) .............................................................................. 13
                           7
                             Allstate Ins. Co. v. LaPore,
                           8        762 F.Supp. 268 (N.D.Cal. 1991) ................................................................... 15
                        9 Ameron Int'l Corp. v. Am. Home Assur. Co.,
                                 2011 WL 2261195 (C.D.Cal. June 6, 2011) .................................................... 5
                       10
                          Arch Specialty Ins. Co. v. Beacon Healthcare Servs., Inc.,
                       11       2023 WL 2347396 (C.D.Cal. 2023) ................................................................ 20
                       12
                          Atlas Assurance Co. v. McCombs Corp.,
                       13       146 Cal.App.3d 135 (1983) ............................................................................... 5
                       14 Axis Reinsurance Co. v. Telekenex, Inc.,
                                913 F.Supp.2d 793 (N.D. Cal. 2012) ................................................................ 6
                       15
                          B & E Convalescent Ctr. v. State Comp. Ins. Fund,
                       16       8 Cal.App.4th 78 (1992) ........................................................................ 7, 12, 13
                       17
                          Beck v. Downey
                       18       198 F.2d 626 (9th Cir. 1952) ............................................................................. 6
                       19 Budget Rent-A-Car, Inc. v. Higashiguchi
                                 109 F.3d 1471 (9th Cir. 1997) .......................................................................... 4
                       20
                          California Amplifier, Inc. v. RLI Ins. Co.,
                       21       94 Cal.App.4th 102 (2001) .............................................................................. 13
                       22
                          California Shoppers, Inc. v. Royal Globe Ins. Co.,
                       23       175 Cal.App.3d 1 (1985) ................................................................................... 7
                       24 Certain U’Writers at Lloyd’s London v. ConAgra Grocery Prods. Co.,
                                77 Cal.App.5th 729 (2022) ................................................................................ 7
                       25
                           Chapin v. Knight–Ridder,
                       26       993 F.2d 1087 (4th Cir.1993) ............................................................................ 9
                       27
                           Clemmer v. Hartford Ins. Co.,
                       28       22 Cal.3d 865 (1978) ......................................................................................... 6
MCCORMICK, BARSTOW       ,
 SHEPPARD, W AYTE      &                                                   ii
   CARRUTH LLP                  MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 4 of 31 Page ID #:929




                           1                                      TABLE OF AUTHORITIES
                                                                        (Continued)
                           2                                                                                                               Page
                           3 Coit Drapery Cleaners, Inc. v. Sequoia Ins. Co.,
                                   14 Cal.App.4th 1595 (1993) ............................................................................ 13
                           4
                             Dodds v. American Broadcasting Co., Inc.,
                           5       145 F.3d 1053 (9th Cir. 1998) .................................................................... 9, 11
                           6
                             Downey Venture v. LMI Ins. Co.,
                           7       66 Cal.App.4th 478 (1998) ......................................................................... 7, 14
                        8 Edwards v. Schwartz,
                                378 F.Supp.3d 468 (W.D.Va. 2019) ................................................................. 9
                        9
                          Eramo v. Rolling Stone LLC,
                       10       2016 WL 6462187 (W.D.Va. 2016) .................................................................. 9
                       11
                          Fairfax v. CBS Broadcasting, Inc.,
                       12       534 F.Supp.3d 581 (E.D.Va. 2020) ................................................................... 8
                       13 Federal Ins. Co. v. MBL, Inc.,
                                 219 Cal.App.4th 29 (2013) ........................................................................ 17, 19
                       14
                          Fire Ins. Exch. v. Altieri,
                       15        235 Cal.App.3d 1352 (1991 .............................................................................. 7
                       16
                          Frontier Oil Corp. v. RLI Ins. Co.,
                       17        153 Cal.App.4th 1436 (2007) ............................................................................ 5
                       18 Great Am. Ins. Co. v. Quintana Homeowners Ass'n,
                                 291 F.Supp.3d 1003 (N.D.Cal. 2018) ............................................................... 4
                       19
                          Handenberg v. Goldberg,
                       20        297 Va. 660 (2019) ............................................................................................ 9
                       21
                          Interinsurance Exch. v. Flores,
                       22        45 Cal.App.4th 661 (1996) .......................................................................... 7, 13
                       23 Jackson v. Liberty Uni.,
                                 2017 WL 3326972 (W.D.Va. 2017) .................................................................. 9
                       24
                          Jacobs v. Fire Ins. Exch.,
                       25        36 Cal.App.4th 1258 (1995) .............................................................................. 7
                       26
                          Jaffe v. Cranford Ins. Co.,
                       27        168 Cal.App.3d 930 (1985) ............................................................................. 15
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                                   iii
   CARRUTH LLP                  MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 5 of 31 Page ID #:930




                           1                                      TABLE OF AUTHORITIES
                                                                        (Continued)
                           2                                                                                                            Page
                           3 Johnson v. Columbia Broadcasting System, Inc.,
                                   10 F.Supp.2d 1071 (D. Minn. 1998) ......................................................... 10, 11
                           4
                             Lyons v. Fire Ins. Exchange,
                           5       161 Cal.App.4th 880 (2008) ............................................................................. 16
                           6
                             Michaelian v. State Comp. Ins. Fund,
                           7       50 Cal.App.4th 1093 (1996) ............................................................................ 13
                        8 Midiman v. Farmers Ins. Exch.,
                                90 Cal.Rptr.2d 85 (Cal.Ct.App. Dec. 3, 1999) ............................................... 17
                        9
                          Montrose Chem. Corp. v. Superior Ct.,
                       10       6 Cal.4th 287 (1993) ....................................................................................... 15
                       11
                          Morris v. Atlas Assurance Co.,
                       12      158 Cal.App.3d 8 (1984) ................................................................................. 15
                       13 Mount Vernon Fire Ins. Co. v. VisionAid, Inc.,
                               91 F.Supp.3d 66 (D.Mass. 2015) .................................................................... 18
                       14
                          N. Am. Specialty Ins. Grp. v. Am. Int'l Grp., Inc.,
                       15      2009 WL 10671492 (C.D.Cal. 2009) .............................................................. 15
                       16
                          Newton v. National Broadcasting Co.,
                       17       930 F.2d 662 (9th Cir. 1990) ............................................................................. 9
                       18 Northern Cty. Mut. Ins. Co. v. Davalos,
                                140 S.W.3d 685 (Tex. 2004) ........................................................................... 18
                       19
                          Nunes v. Lizza,
                       20       476 F.Supp.3d 824 (N.D. Iowa 2020) ............................................................... 9
                       21
                          Office Depot, Inc. v. AIG Specialty Insurance Co.,
                       22       2017 WL 11649485 (C.D. Cal. Jan. 4, 2017) ................................................. 13
                       23 OneBeacon Am. Ins. Co. v. Celanese Corp.,
                                84 N.E.3d 867 (Mass.App. 2017)................................................................... 17
                       24
                          Owen v. Liberty Uni.,
                       25       2020 WL 1856798 (W.D.Va. 2020) .................................................................. 9
                       26
                          Park Townsend, LLC v. Clarendon Am. Ins. Co.,
                       27       916 F.Supp.2d 1045 (N.D.Cal. 2013) ............................................................. 18
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                                  iv
   CARRUTH LLP                  MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 6 of 31 Page ID #:931




                           1                                        TABLE OF AUTHORITIES
                                                                          (Continued)
                           2                                                                                                                Page
                           3 Pendleton v. Newsome,
                                   290 Va. 162 (2015) ........................................................................................ 8, 9
                           4
                             Reagen's Vacuum Truck Serv., Inc. v. Beaver Ins. Co.,
                           5       1 Cal.App.4th 375 (1994) ................................................................................ 13
                           6
                             Republic Indemnity Co. v. Superior Court,
                           7       224 Cal.App.3d 492 (1990) ............................................................................. 12
                        8 Reynolds v. Maramorosch,
                                208 Misc. 626, 144 N.Y.S.2d 900 (Sup.Ct. N.Y. 1955) ................................. 17
                        9
                          Roussos v. Allstate Ins. Co.,
                       10       104 Md.App. 80 (Ct.Spec.App.Md. 1995) ...................................................... 18
                       11
                          Ryan v. Rosenfeld,
                       12       3 Cal. 5th 124 (2017) ......................................................................................... 6
                       13 Sargent v. Johnson,
                                51 F.2d 221 (8th Cir. 1977) ............................................................................. 17
                       14
                          Scottsdale Ins. Co. v. MV Transportation,
                       15       36 Cal.4th 643 (2005) ...................................................................................... 19
                       16
                          Shell Oil Co. v. Winterthur Swiss Ins. Co.,
                       17       12 Cal.App.4th 715 (1993) ................................................................................ 8
                       18 St. Paul Fire & Marine Ins. Co. v. Weiner,
                                 606 F.2d 864 (9th Cir. 1979) ............................................................................. 3
                       19
                          State Farm Fire & Cas. Co. v. Eddy,
                       20        218 Cal.App.3d 958 (1990) ............................................................................... 7
                       21
                          State Farm Mut. Auto. Ins. Co. v. Goddard,
                       22        484 P.3d 765 (Colo.Ct.App. 2021).................................................................. 18
                       23 Stellar v. State Farm Gen. Ins. Co.,
                                 157 Cal.App.4th 1498 (2007) .......................................................................... 15
                       24
                          Tomblin v. WCHS-TV8,
                       25        434 Fed.Appx. 205 (4th Cir. 2011) ................................................................. 10
                       26
                          Toney v. WCCO Television, Midwest Cable and Satellite, Inc.,
                       27        85 F.3d 383 (8th Cir. 1996) ....................................................................... 10, 11
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                                     v
   CARRUTH LLP                  MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 7 of 31 Page ID #:932




                           1                                     TABLE OF AUTHORITIES
                                                                       (Continued)
                           2                                                                                                            Page
                        3 Tradewinds Escrow, Inc. v. Truck Ins. Exch.,
                                97 Cal.App.4th 704 (2002) .............................................................................. 15
                        4
                          Transport Indem. Co. v. Aerojet Gen. Corp.,
                        5       202 Cal.App.3d 1184 (1988) ............................................................................. 7
                        6
                          Twin City Fire Ins. Co. v. Ben Arnold-Sunbelt Beverage Co. of South
                        7       Carolina, LP,
                                336 F.Supp.2d 610 (D. S.Ca. 2004) ................................................................ 17
                        8
                          U.S. Underwriters Ins. Co. v. Weatherization, Inc.,
                        9       21 F.Supp.2d 318 (S.D.N.Y. 1998) ................................................................... 4
                       10 Unified W. Grocers, Inc. v. Twin City Fire Ins. Co.,
                       11       457 F.3d 1106 (9th Cir. 2006) ........................................................................... 6
                       12 United Servs. Auto. Assn. v. Martin,
                                120 Cal.App.3d 963 (1981) ............................................................................. 20
                       13
                          Venoco, Inc. v. Gulf Underwriters Ins. Co.,
                       14       175 Cal.App.4th 750 (2009) ............................................................................ 15
                       15 Vinas v. Chubb Corp.,
                       16       499 F.Supp.2d 427 (S.D.N.Y. 2007) ............................................................... 10
                       17 White v. Fraternal Order of Police,
                                909 F.2d 512 (D.C.Cir. 1990) ......................................................................... 10
                       18
                       19 STATUTES
                       20 California Civil Code §1646........................................................................................ 5
                       21 California Civil Code §2860...................................................................................... 17
                       22 Insurance Code §533 .....................................................2, 5, 6, 7, 8, 11, 12, 13, 14, 16
                       23
                       24
                       25
                       26
                       27
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                                 vi
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 8 of 31 Page ID #:933




                           1 I.     INTRODUCTION
                           2        In its First Amended Complaint filed on July 11, 2022, New York Marine and
                           3 General Insurance Company (“NY Marine”) sought and continues to seek declaratory
                           4 relief determining that it has no duty to either defend or indemnify Defendant and
                           5 Cross-Complainant Amber Heard (“Heard”) in an underlying action filed against her
                           6 in March 2019 entitled John C. Depp, II v. Amber Laura Heard, Circuit Court of
                           7 Fairfax County, Virginia, Case no. CL-2019-0002911 (“Depp v. Heard”). In her First
                           8 Amended and Supplemental Answer, Heard admits both the contents of the relevant
                           9 provisions of the NY Marine policy and the existence of actual “disputes” or
                       10 “controversies” between her and NY Marine with respect to each cause of action in
                       11 NY Marine’s First Amended Complaint. (Amended Answer [ECF-36] at 3:11-4:4,
                       12 6:12-120, 7:16-23, 8:15-27, 9:16-10:4.)
                       13           In her Judgment on the Pleadings Motion, Heard now inconsistently asserts that
                       14 all issues are moot even though she continues to both dispute the claims in NY
                       15 Marine’s Amended Complaint and pursue her own Amended Counterclaim for
                       16 “hundreds of thousands of dollars in defense costs not paid by any insurer.” (Amended
                       17 Answer and Counterclaim [ECF-36] 21:24-25). Her assertion of mootness is based on
                       18 the resolution of the Depp v. Heard action “by confidential settlement in December
                       19 2022”, combined with (1) the Court’s Order of March 13, 2023 dismissing the first
                       20 cause of action of her Amended Counterclaim without leave to amend, and (2) her
                       21 decision to not amend the second cause of action thereof with respect to which she
                       22 was granted leave to amend. (Heard’s Motion [ECF-43] 5:9-10.) However, the
                       23 settlement of the Depp v. Heard action does not moot any of the causes of action set
                       24 forth in either NY Marine’s Amended Complaint or in Heard’s Amended
                       25 Counterclaim as she still continues to allege a right of indemnification and seek
                       26 recovery of her allegedly unpaid defense costs.
                       27           Further, pursuant to NY Marine’s cross-motion for Judgment on the Pleadings,
                       28 NY Marine’s third cause of action for declaratory relief as to its duty to defend should
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                 1
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
              Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 9 of 31 Page ID #:934




                           1 be adjudicated in its favor as a matter of law, as the NY Marine policy was issued in
                           2 and is to be performed in California and the Depp v. Heard action only alleged
                           3 defamation by implication, thereby requiring proof of a defamatory implication
                           4 designed and intended by Heard for which coverage is precluded by California
                           5 Insurance Code §533 precluding coverage for “willful” acts.             In addition, NY
                           6 Marine’s fourth cause of action for declaratory relief based on Heard’s lack of
                           7 cooperation should similarly be adjudicated in its favor as a matter of law based on
                           8 Heard’s admitted refusal to “fully accept” NY Marine’s appointment of the Cameron
                           9 McEvoy PLLC firm whom she initially retained to defend her some six months before
                       10 her September 4, 2019 tender to NY Marine.
                       11 II.       NY MARINE’S IS ENTITLED TO A DECLARATORY JUDGMENT
                                    REGARDING ITS DUTIES TO DEFEND AND INDEMNIFY
                       12
                                    A.     The Settlement Of The Depp v. Heard Action Does Not Moot The
                       13                  Dispute Regarding NY Marine’s Duties And Obligations
                       14                  1.     The Issue Of Whether NY Marine Has An Obligation To
                                                  Indemnify Is Not Moot
                       15
                                    Heard asserts that she “has withdrawn her claim for indemnity against New
                       16
                              York Marine for the settlement of the Depp lawsuit.” (Heard’s Memorandum in
                       17
                              Support of Motion [ECF-55-1] 5:18-19 and 5:26-6:8). However, as noted above, in
                       18
                              her Answer to NY Marine’s Amended Complaint alleging the existence of an actual
                       19
                              controversy as to NY Marine’s duty to indemnify (and despite her express allegation
                       20
                              that the Depp v. Heard action had been settled), Heard expressly admitted the
                       21
                              existence of a “dispute between New York Marine and her regarding New York
                       22
                              Marine’s duties under the Policy..., that New York Marine contends that it has no duty
                       23
                              to indemnify her as to the June 24, 2022 Judgment Order, and that she disputes New
                       24
                              York Marine’s contentions... contending that New York Marine is obligated to
                       25
                              perform all its duties in connection with the Depp lawsuit.” (Amended Answer [ECF-
                       26
                              36] at 6:12-20 and 7:15-23.) In addition, Heard continues to allege that NY Marine
                       27
                              repudiated its duty to indemnify. (Id. at 6:28-7:4 and 8:2-6.)
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                       2
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 10 of 31 Page ID #:935




                           1         Since Heard has declined to amend her Counterclaim, in the event her
                           2 anticipated appeal from the Judgment following this Court’s March 17, 2023 Order
                           3 results in the reversal of the Judgment, she will still be alleging a claim for indemnity.
                           4 Accordingly, in the absence of a partial release or a waiver of some type personally
                           5 signed by Heard regarding her presently asserted claim for indemnification, the only
                           6 reasonable solution is entry of a declaratory judgment in favor of NY Marine.
                           7 Accordingly, NY Marine requests that the Court enter judgment on the pleadings in
                           8 its favor as to the first and second causes of action of its Amended Complaint.
                           9               2.     The Issue Of Whether NY Marine Was Obligated To Defend
                                                  Heard Is Not Moot
                       10
                       11            NY Marine filed its First Amended Complaint on July 11, 2022 and the
                       12 underlying Depp v. Heard lawsuit was not resolved until December 2022. (Amended
                       13 Counterclaim [ECF-36] at 21:15-17.) As noted above, in Heard’s Amended
                       14 Counterclaim, she alleges that because of NY Marine’s failure to honor her request to
                       15 appoint independent counsel, she was left to incur “hundreds of thousands of dollars
                       16 in defense costs not paid by any insurer.” (Amended Answer [ECF-36] 8:24-25.)
                       17 Therefore, at a minimum, there is an actual case and controversy which is not moot
                       18 with regard to any duty to defend Heard following her September 4, 2019 tender of
                       19 the Depp v. Heard action to NY Marine and any ongoing duty to defend her until the
                       20 actual dismissal of the Depp v. Heard lawsuit in December of 2022. (Amended
                       21 Answer [ECF-36] at 8:15-23 and 9:16-26.)
                       22            Contrary to the premise of Heard’s motion, a settlement and resulting dismissal
                       23 of an underlying action against an insured does not automatically moot issues or
                       24 disputes regarding their liability insurer’s duties and obligations which existed as of
                       25 the time of the filing of a declaratory relief action and prior to the underlying action’s
                       26 settlement. In St. Paul Fire & Marine Ins. Co. v. Weiner, 606 F.2d 864, 867 (9th Cir.
                       27 1979), the Court held that an insurer’s declaratory relief claim seeking a determination
                       28 of whether or not it owed a duty to defend was not “mooted” by the settlement of the
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                 3
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 11 of 31 Page ID #:936




                           1 underlying action or the insureds’ settlements with other defending insurers which did
                           2 not fully reimburse them for incurred defense costs. In so holding, the Court
                           3 concluded that a “live” controversy remained between parties even though a large
                           4 portion of claims were resolved because “some claims remain[ed] outstanding.” Id.;
                           5 See also U.S. Underwriters Ins. Co. v. Weatherization, Inc., 21 F.Supp.2d 318, 322
                           6 (S.D.N.Y. 1998) (settlement of underlying tort action did not “moot” declaratory
                           7 relief claim regarding whether insurer had duty to defend because the fact that an
                           8 insurer “can have no duty to defend an action that is terminated is irrelevant to whether
                           9 its duty to undertake that defense existed so as to trigger its liability for defendants'
                       10 costs of that defense”); Great Am. Ins. Co. v. Quintana Homeowners Ass'n, 291
                       11 F.Supp.3d 1003, 1009 (N.D.Cal. 2018) (issues of excess carrier’s duty to defend
                       12 raised in its declaratory relief action were not mooted by settlement of underlying
                       13 action where live disputes remained over whether or not excess carrier’s defense
                       14 obligations were triggered by primary carrier’s tender of policy limits during
                       15 settlement discussions and insured had counterclaimed for breach of contract).
                       16           Likewise, there are similarly outstanding controversies here regarding NY
                       17 Marine’s duties from the date on which it filed this action onward through final
                       18 resolution of the underlying Depp v. Heard action. Heard recognized the existence of
                       19 that dispute when she filed her Amended Answer on January 13, 2023 admitting the
                       20 existence of an actual controversy as to both NY Marine’s Third and Fourth Causes
                       21 of Action seeking determinations that it owed no duty to defend her. (See NYM FAC
                       22 [ECF-5] at 9:10-17 and 10:10-17; Amended Answer [ECF-36] at 8:15-23, 9:16-26.)
                       23           Moreover, NY Marine still faces the claim of Travelers for contribution for
                       24 amounts which it paid to Heard’s independent counsel. (See Travelers FAC in Case
                       25 No. 2:21-cv-05832 [ECF-15] at 9:35-11:17.) The existence of that claim similarly
                       26 shows the continued existence of an actual controversy. In Budget Rent-A-Car, Inc.
                       27 v. Higashiguchi, 109 F.3d 1471, 1474 (9th Cir. 1997), the court held that an insurer’s
                       28 declaratory relief claim seeking a determination that it had no defense or indemnity
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                4
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 12 of 31 Page ID #:937




                           1 obligation was not mooted by the settlement of the underlying action because the
                           2 insurer “may be subject to actions for indemnity or subrogation based on its policy.”
                           3 See also Atlas Assurance Co. v. McCombs Corp., 146 Cal.App.3d 135, 141 fn.1
                           4 (1983) (denying motion to dismiss appeal of judgment on insurer’s declaratory relief
                           5 action contending that it had no duty to defend or indemnify after settlement of
                           6 underlying action by other defending insurer which had received an assignment of
                           7 claims from insured and consequently issues regarding other insurer’s defense and
                           8 indemnity obligations remained live disputes).
                           9         B.     NY Marine’s Third Cause Of Action Seeking A Declaratory
                                            Determination That It Had No Duty To Defend Heard In The Depp
                       10                   v. Heard Action Pursuant To California Insurance Code §533 Is Not
                                            Moot And Should Be Determined In NY Marine’s Favor As A
                       11                   Matter Of Law
                       12                   1.    Because The NY Marine Policy Was Issued To Heard In
                                                  California, Insurance Code §533 Applies
                       13
                                     As to issues of policy interpretation, California Civil Code §1646 provides that
                       14
                               “[a] contract is to be interpreted according to the law and usage of the place where it
                       15
                               is performed; or, if it does not indicate a place of performance, according to the law
                       16
                               and usage of the place that it was made.” As the court explained in Frontier Oil Corp.
                       17
                               v. RLI Ins. Co., 153 Cal.App.4th 1436, 1450 (2007), “[t]he party’s intention as to the
                       18
                               place of performance sometimes can be gleaned from the nature of the contract and
                       19
                               the surrounding circumstances, even if the contract does not expressly specify a place
                       20
                               of performance.” In cases where policies contain state-specific endorsements, courts
                       21
                               have “gleaned” the intended place of performance from a policy’s state-specific
                       22
                               endorsements. Ameron Int'l Corp. v. Am. Home Assur. Co., 2011 WL 2261195 at *4
                       23
                               (C.D.Cal. June 6, 2011); Global Décor, Inc. v. Cincinnati Ins. Co., 2011 WL 2437236
                       24
                               at 3 (C.D.Cal. June 26, 2011). The NY Marine policy includes California specific
                       25
                               endorsements, entitled “California Changes–Cancellation and Nonrenewal” and
                       26
                               “California Exclusion–Access or Disclosure of Confidential or Personal Information
                       27
                               and Data-Related Liability–With Limited Bodily Injury Exception.” (FAC, Ex. A
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                       5
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 13 of 31 Page ID #:938




                           1 [ECF-5-1] at 13 and 67 of 67.) There are no state specific endorsements for any states
                           2 other than California. It follows that the contract is to be performed in California for
                           3 purposes of Civil Code §1646.
                           4         Furthermore, the NY Marine policy was issued to “Under the Black Sky, Inc.
                           5 As Per Named Insured Extension Schedule”, in care of Macias, Gini & O’Connell at
                           6 an address in Los Angeles, California. (FAC, Ex. A [ECF-5-1] at 3 of 67) Thus, the
                           7 contract was made in California. Beck v. Downey, 198 F.2d 626, 627 (9th Cir. 1952)
                           8 (insurance policy made, executed, and to be performed in California was “governed
                           9 by and to be interpreted according to the law of the State of California”.)
                       10                   2.    The Claims In The Depp v. Heard Action Alleged Liability
                                                  Solely For Willful Acts For Which Insurance Coverage Is
                       11                         Prohibited Under Insurance Code §533
                       12                         a.     A “Willful” Act For Purposes Of Insurance Code §533
                                                         Is One Committed With An Intent To Injury
                       13
                                     Since California law applies, it follows that Insurance Code § 533 applies to
                       14
                               NY Marine’s duties with regard to the Depp v. Heard action notwithstanding that that
                       15
                               it was filed in Virginia. Axis Reinsurance Co. v. Telekenex, Inc., 913 F.Supp.2d 793,
                       16
                               806 (N.D. Cal. 2012) (Ins. Code §533 applied to insurer’s obligations with respect to
                       17
                               action filed in Washington where the policy was executed in California); Unified W.
                       18
                               Grocers, Inc. v. Twin City Fire Ins. Co., 457 F.3d 1106, 1111 (9th Cir. 2006) (Ins.
                       19
                               Code §533 applied to insurer’s indemnity obligations to Hawaiian corporation
                       20
                               involved in a Hawaiian bankruptcy proceeding because California had the “most
                       21
                               significant relationship” with the insurance policy which was procured and delivered
                       22
                               in California to insured’s California parent corporation).
                       23
                                     Insurance Code §533 precluding coverage for an insured’s “willful” act applies
                       24
                               where the insured had a specific intention to cause injury to another. See Clemmer v.
                       25
                               Hartford Ins. Co., 22 Cal.3d 865, 887 (1978), overruled in non-relevant part as stated
                       26
                               in Ryan v. Rosenfeld, 3 Cal. 5th 124, 135 (2017) (explaining “the clear line of
                       27
                               authority in this state [is] to the effect that even an act which is ‘intentional‘ or
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                       6
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 14 of 31 Page ID #:939




                           1 ‘willful‘ within the meaning of traditional tort principles will not exonerate the insurer
                           2 from liability under Insurance Code section 533 unless it is done with a ‘preconceived
                           3 design to inflict injury.’”); California Shoppers, Inc. v. Royal Globe Ins. Co., 175
                           4 Cal.App.3d 1, 33 (1985) (“The rule which emerges from the cited cases is: Insurance
                           5 Code section 533 clearly excludes coverage of those ‘willful’ acts committed with the
                           6 specific intent to injure...”.) see also Fire Ins. Exch. v. Altieri, 235 Cal.App.3d 1352,
                           7 1358 (1991) (criminal assault of minor); Jacobs v. Fire Ins. Exch., 36 Cal.App.4th
                           8 1258, 1269 (1995) (intentional gunshot injuries); Interinsurance Exch. v. Flores, 45
                           9 Cal.App.4th 661, 672 (1996) (aiding and abetting assault with a deadly weapon);
                       10 Downey Venture v. LMI Ins. Co., 66 Cal.App.4th 478, 506 (1998) (malicious
                       11 prosecution); Aetna Cas. & Sur. Co. v. Sheft, 989 F.2d 1105, 1108 (9th Cir. 1993)
                       12 (intentionally exposing victim to sexually transmitted disease); B & E Convalescent
                       13 Ctr. v. State Comp. Ins. Fund, 8 Cal.App.4th 78, 99 (1992) (intentional and unlawful
                       14 employment discrimination); Downey Venture, supra, 66 Cal.App.4th 478, 494 (“The
                       15 ‘malice’ element, which is the one with which we are concerned in this matter, relates
                       16 to the subjective intent or purpose with which the defendant acted…”); State Farm
                       17 Fire & Cas. Co. v. Eddy, 218 Cal.App.3d 958, 969 (1990) (“section 533 clearly
                       18 excludes coverage for those 'wilful' acts committed with the specific intent to injure”);
                       19 Transport Indem. Co. v. Aerojet Gen. Corp., 202 Cal.App.3d 1184, 1188 (1988)
                       20 (“[T]he clear line of authority in this state is that even an act which is “intentional” or
                       21 ‘willful’ within the meaning of traditional tort principles is not a ‘willful act’ under
                       22 section 533 unless it is done with a “preconceived design to inflict injury.”)
                       23            As stated in the seminal decision in Downey Venture, 66 Cal.App.4th 478, 499,
                       24 “[a] ‘willful act’ [sic] under section 533 will include either ‘an act deliberately done
                       25 for the express purpose of causing damage or intentionally performed with knowledge
                       26 that damage is highly probable or substantially certain to result.’” (Emphasis in
                       27 original). See also, Certain U’Writers at Lloyd’s London v. ConAgra Grocery Prods.
                       28 Co., 77 Cal.App.5th 729, 739 (2022). In addition, courts addressing the issue have
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                              7
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 15 of 31 Page ID #:940




                           1 also concluded that “section 533 prohibits indemnification of more than just
                           2 intentional acts that are subjectively desired to cause harm and acts that are
                           3 intentional, wrongful, and necessarily harmful regardless of subjective intent. A
                           4 ‘willful act’ under section 533 must also include a deliberate, liability-producing act
                           5 that the individual, before acting, expected to cause harm. Conduct for which the law
                           6 imposes liability, and which is expected or intended to result in damage, must be
                           7 considered wrongful and willful. Therefore, section 533 precludes indemnification
                           8 for liability arising from deliberate conduct that the insured expected or intended to
                           9 cause damage.” Shell Oil Co. v. Winterthur Swiss Ins. Co., 12 Cal.App.4th 715, at
                       10 742-743 (1993); ConAgra Grocery Prods. Co., supra, 77 Cal.App.5th 729, 739.
                       11                         b.     Proof Of Defamation By Implication Under Virginia
                                                         Law Requires Proof Of An Intent To Injure
                       12
                                     In the Depp v. Heard Complaint, the contents of which Heard admitted in her
                       13
                              Amended and Supplemented Answer (Amended Answer [ECF-36] at 4:8-9), Plaintiff
                       14
                              Depp alleged defamation by implication. Specifically, the Complaint alleged that
                       15
                              statements identified “impl[ied] that Ms. Heard was the victim of domestic violence
                       16
                              at the hands of Mr. Depp, [were] false.” (FAC, Ex. B [ECF-5-2] at 5, 6, 26 and 29 of
                       17
                              45.)
                       18
                                     Since the Depp v. Heard action was filed in Virginia, the law of Virginia
                       19
                              governs its determination. For a Defendant to be liable for defamation by implication,
                       20
                              Virginia law requires not only that the “statement [have] a defamatory implication”,
                       21
                              but as well, that the “defamatory implication was designed and intended by” the
                       22
                              defendant to refer to the plaintiff even if the statements themselves are factually true.
                       23
                              Pendleton v. Newsome, 290 Va. 162, 175 (2015). Courts applying Virginia law have
                       24
                              also consistently explained that “[a] statement is defamatory by implication if…‘the
                       25
                              statements, even if facially true, were designed and intended by the defendants to
                       26
                              imply [the defamatory meaning]’…”. Fairfax v. CBS Broadcasting, Inc., 534
                       27
                              F.Supp.3d 581, 591 (E.D.Va. 2020) (emphasis added); Edwards v. Schwartz, 378
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                       8
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 16 of 31 Page ID #:941




                           1 F.Supp.3d 468, 504 (W.D.Va. 2019); Eramo v. Rolling Stone LLC, Case No. 3:15-cv-
                           2 00023, 2016 WL 6462187 *2-*3 (W.D.Va. 2016); Owen v. Liberty Uni., Case No.
                           3 6:19-cv-00007, 2020 WL 1856798 *15 (W.D.Va. 2020); Jackson v. Liberty Uni.,
                           4 Case No. 6:17-cv-00041, 2017 WL 3326972 *10 (W.D.Va. 2017).
                           5        In this regard, Virginia law requires that a plaintiff prove that the defendant
                           6 “intended his words to express a defamatory innuendo.” See Pendleton, 290 Va. at
                           7 174. That is, the defendant must have designed and intended “the requisite defamatory
                           8 ‘sting’ to one’s reputation.” Handenberg v. Goldberg, 297 Va. 660, 667 (2019); see
                           9 also FAC, Ex. D [ECF-5-4] at 7-9.
                       10           Likewise, numerous courts addressing claims for “defamation by implication”,
                       11 including from both the Fourth Circuit (which has jurisdiction over appeals from
                       12 District Courts in Virginia) and Ninth Circuit, have confirmed that “[t]he First
                       13 Amendment requires a plaintiff in a defamation by implication case to plead and
                       14 prove that the defendant subjectively intended or endorsed the defamatory
                       15 implication.” Nunes v. Lizza, 476 F.Supp.3d 824, 843-844 (N.D. Iowa 2020); Chapin
                       16 v. Knight–Ridder, 993 F.2d 1087, 1093 (4th Cir. 1993) (“The language must not only
                       17 be reasonably read to impart the false innuendo, but it must also affirmatively suggest
                       18 that the author intends or endorses the inference.”); Dodds v. American Broadcasting
                       19 Co., Inc., 145 F.3d 1053, 1064 (9th Cir. 1998) (“all the courts of appeal that have
                       20 considered cases involving defamation by implication have imposed a similar actual
                       21 intent requirement” and accordingly “we continue to believe that the Newton test
                       22 requiring a clear and convincing showing of subjective or actual intent strikes the
                       23 proper balance between protecting victims of defamation and protecting against the
                       24 possible chilling effect that results from overly broad applications of our defamation
                       25 laws,” citing Newton v. National Broadcasting Co., 930 F.2d 662, 681 (9th Cir. 1990)).
                       26           In Dodds, supra, the court further stated that “subjective or actual intent is
                       27 required and that ‘there is no actual malice when journalists unknowingly mislead the
                       28 public ... all the courts of appeal that have considered cases involving defamation by
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                    9
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 17 of 31 Page ID #:942




                           1 implication have imposed a similar actual intent requirement’” that there was an
                           2 intention “to convey the defamatory impression.” Id; Tomblin v. WCHS-TV8, 434
                           3 Fed.Appx. 205, 219 (4th Cir. 2011) (“a plaintiff asserting a claim of defamation by
                           4 implication must meet a higher bar to establish her claim. In particular, where the
                           5 stated facts are ‘literally true,’ the language must ‘not only be reasonably read to
                           6 impart false innuendo, but it must also affirmatively suggest that the author intends
                           7 or endorses the inference.’”); Vinas v. Chubb Corp., 499 F.Supp.2d 427, 437
                           8 (S.D.N.Y. 2007) (stating that “for such ‘defamation by implication’ claims, Plaintiffs
                           9 typically have to show that Defendants affirmatively intended such implication”);
                       10 Toney v. WCCO Television, Midwest Cable and Satellite, Inc., 85 F.3d 383, 387 (8th
                       11 Cir. 1996) (characterizing “defamation by implication” as occurring “when a
                       12 defendant ‘[1] juxtaposes a series of facts so as to imply a defamatory connection
                       13 between them, or [2] creates a defamatory implication by omitting facts, [such that]
                       14 he may be held responsible for the defamatory implication, unless it qualifies as an
                       15 opinion, even though the particular facts are correct.’”); White v. Fraternal Order of
                       16 Police, 909 F.2d 512, 520 (D.C.Cir. 1990) (collecting and reviewing case law and
                       17 stating that case law “suggest[s] that if a communication, viewed in its entire context,
                       18 merely conveys materially true facts from which a defamatory inference can
                       19 reasonably be drawn, the libel is not established. But if the communication, by the
                       20 particular manner or language in which the true facts are conveyed, supplies
                       21 additional, affirmative evidence suggesting that the defendant intends or endorses the
                       22 defamatory inference, the communication will be deemed capable of bearing that
                       23 meaning.”) (emphasis in original).
                       24           Indeed, in Johnson v. Columbia Broadcasting System, Inc., 10 F.Supp.2d 1071,
                       25 1075 (D. Minn. 1998), in the context of a claim for defamation by implication, and
                       26 apart from any actual malice standard applicable to public figures, the court observed
                       27 that “in cases involving implied defamation, the Court finds that a Plaintiff must
                       28 prove not only that the alleged implications can be reasonably derived from the
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                              10
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 18 of 31 Page ID #:943




                           1 broadcast (the more traditional element of implied defamation), but also that
                           2 Defendant intended those implications.” Moreover, the Johnson court observed,
                           3 addressing the differences in courts’ characterizations of the tort between those, such
                           4 as Dodds, which expressly state that the “defamation by implication” requires
                           5 “intent”, as opposed to those, such as Toney which speak in terms of “juxtapositions”
                           6 or “omissions” of facially-true facts in a statement, that “[t]he difference between
                           7 requiring a Plaintiff to prove that a Defendant is ‘responsible’ for an implication
                           8 because of factual juxtapositions or omissions as in Toney, and requiring a Plaintiff
                           9 to present evidence that a Defendant ‘intended to convey [a] defamatory implication’
                       10 as in Dodds, appears to be only a semantic one.” Id. Thus, the Johnson Court stated
                       11 that it “reads Toney as standing for the proposition stated directly in Dodds: ‘[i]t is
                       12 not enough, however, to show that the implication was reasonable...[Plaintiff]
                       13 must further establish that [Defendant] intended to convey the defamatory
                       14 implication.’” Id. (quoting Dodds, supra, at 1063 (emphasis added)).
                       15           Accordingly, it follows that since a finding against Heard based on the
                       16 allegations in the Depp v. Heard action would necessarily require a finding of
                       17 defamation by implication establishing that she “intended” the defamatory
                       18 implications of her statements, it follows that any liability imposed upon her in that
                       19 action would be because she “willfully” intended both the defamatory statements and
                       20 the resulting injury for which no coverage is afforded under the NY Marine policy
                       21 pursuant to Insurance Code §533.
                       22                  3.     Insurance Code §533 Applies To Preclude NY Marine’s Duty
                                                  To Defend Heard In The Depp v. Heard action
                       23
                                                  a.     Insurance Code §533 Precludes A Duty To Defend
                       24                                Where The Action Against The Insured Only Alleges
                                                         Willful Acts
                       25
                                    Since any liability which Heard would have based on the allegations of the
                       26
                              Depp v. Heard action would necessarily be based on a finding that she intended the
                       27
                              defamatory implication of her alleged statements, it follows that Insurance Code §533
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                      11
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 19 of 31 Page ID #:944




                           1 precluded NY Marine from having a duty to defend her in the Depp v. Heard action.
                           2        In B & E Convalescent Center v. State Compensation Ins. Fund, 8 Cal.App.4th
                           3 78, 92-99 (1992), the insurer refused to provide a defense to an insured who was sued
                           4 for wrongful termination, violations of the Fair Employment Housing Act on the basis
                           5 for discrimination based on gender, age and ethnic origin, breach of the implied
                           6 covenant of good faith and fair dealing and intentional infliction of emotional distress.
                           7 In the subsequent coverage action against the insurer, the trial court granted the
                           8 insurer’s Motion for Summary Adjudication and the Court of Appeal affirmed. In so
                           9 holding, the appellate court explained that “[a] potential for coverage would exist if,
                       10 based on the allegations of Bryson's complaint, together with any other information
                       11 available to State Fund, there was a possibility of coverage under the policy's insuring
                       12 language which was not excluded by any express provision within the policy or
                       13 precluded by the statutory restraint of section 533.” Id. at 93
                       14           In addressing that issue, the Court in B & E Convalescent Center distinguished
                       15 the decision in Republic Indemnity Co. v. Superior Court, 224 Cal.App.3d 492, 497
                       16 (1990) in which the Court “concluded that indemnification would not be precluded,
                       17 and the duty to defend would thus not be excused, unless the employee, in order to
                       18 prevail on his cause of action, would be required to show both an intentional act by
                       19 the employer and a specific intent to injure the employee.” 8 Cal.App.4th at 94. The B
                       20 & E Convalescent Center Court went on to note that in Republic, because of the
                       21 potential for the Plaintiff to prevail “on a cause of action for which there was no
                       22 express or implied exclusion, the insurer was obligated to defend the action.” Id. at
                       23 95. The Court in B & E Convalescent Center went on to explain that “in the
                       24 underlying action here, however, no such potential for recovery existed without proof
                       25 of willful conduct. A termination affirmatively undertaken with the intent to interfere
                       26 with protected labor union rights or discriminate on the basis of gender, age, or ethnic
                       27 origin cannot be the result of negligence. An affirmative act which can only violate
                       28 the law when it is accompanied by such an impermissible motivation necessarily
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                            12
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 20 of 31 Page ID #:945




                           1 involves willful and intentional misconduct...Bryson's complaint clearly alleges such
                           2 activity.” Id. at 95.
                           3         Following B & E Convalescent Center, California courts have repeatedly held
                           4 that Insurance Code §533 applies to eliminate a liability insurer’s defense obligation
                           5 when all of the insured’s alleged injury-producing conduct falls within that section’s
                           6 preclusive scope.       See, e.g., Coit Drapery Cleaners, Inc. v. Sequoia Ins. Co., 14
                           7 Cal.App.4th 1595, 1604 (1993) (Ins. Code §533 eliminated duty to defend suit based
                           8 on company president’s alleged willful sexual harassment and wrongful termination
                           9 of employee); Michaelian v. State Comp. Ins. Fund, 50 Cal.App.4th 1093, 1105-1108
                       10 (1996) (Ins. Code §533 eliminated duty to defend suit alleging sexual harassment of
                       11 employee in violation of law, constructive termination due to sexual harassment,
                       12 assault, battery and intentional infliction of emotional distress); California Amplifier,
                       13 Inc. v. RLI Ins. Co., 94 Cal.App.4th 102, 107 (2001) (Ins. Code §533 eliminated duty
                       14 to defend securities fraud claims which required proof that insured had intentionally
                       15 made false and misleading statements in connection with the sale of securities); Aetna
                       16 Cas. & Sur. Co. v. Superior Ct., 19 Cal.App.4th 320, 331-333 (1993) (Ins. Code §533
                       17 eliminated duty to defend patent infringement claims which required proof that the
                       18 insured “knowingly” induced patent infringement); Interinsurance Exch. v. Flores,
                       19 45 Cal.App.4th 661, 672-673 (1996) (Ins. Code §533 eliminated duty to defend claims
                       20 arising from insured’s felony aiding and abetting assault with a deadly weapon);
                       21 Reagen's Vacuum Truck Serv., Inc. v. Beaver Ins. Co., 31 Cal.App.4th 375, 388 (1994)
                       22 (by operation of Ins. Code §533, insured employer had “no reasonable expectation”
                       23 of a defense against claims that insured employer intentionally concealed and
                       24 aggravated employee’s workplace injuries via exposure to toxic chemicals); Aetna
                       25 Casualty & Sur. Co. v. Sheft, 989 F.2d 1105, 1108 (9th Cir. 1993) (Ins. Code §533
                       26 precluded duty to defend insured who allegedly concealed that he was HIV positive
                       27 in order to engage in high-risk sex with claimant); Office Depot, Inc. v. AIG Specialty
                       28 Insurance Co., 2017 WL 11649485, (C.D. Cal. Jan. 4, 2017) at *5 , rev'd and
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                          13
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 21 of 31 Page ID #:946




                           1 remanded on other grounds, 722 F. App'x 745 (9th Cir. 2018) (Ins. Code §533
                           2 precluded coverage for claims under the California False Claims Act as “willful”
                           3 wrongful conduct and therefore the insurer had neither a duty to defend nor duty to
                           4 indemnify the insured against such claims); Big 5 Sporting Goods Corp. v. Zurich
                           5 Am. Ins. Co., 635 F. App'x 351, 353 (9th Cir. 2015) (unpublished) (“An insurer may
                           6 have a duty to defend against a claim that is meritless or frivolous, i.e. ‘a loser,’ but
                           7 not against a claim that is plainly not covered because of an exclusion.”) (emphasis in
                           8 original.)
                           9                      b.     Since Heard Could Only Be Liable In Depp v. Heard For
                                                         “Willful” Acts, She Had No Reasonable Expectation Of
                       10                                A Defense
                       11           The same court which decided B & E Convalescent Center distinguished that
                       12 decision in Downey Venture v. LMI Ins. Co., supra, 66 Cal.App.4th 478, 488 in which
                       13 the insurer’s policy expressly promised a defense for claims of “malicious
                       14 prosecution” and consequently the insured had a “reasonable expectation” of a
                       15 defense for such claims notwithstanding that there would be no obligation to
                       16 indemnify the insured for a judgment for malicious prosecution by reason of
                       17 Insurance Code §533. Here, however, unlike the policy at issue in Downey Venture,
                       18 the Comprehensive Personal Liability Coverage provision of the NY Marine policy
                       19 upon which NY Marine’s third cause of action is predicated only promises a defense
                       20 for claims or suits brought against the insureds for damages “because of,” as relevant,
                       21 “...‘personal injury’ caused by an ‘occurrence’ to which this coverage applies...”.
                       22 (FAC, Ex. A [ECF-5-1] at 53, 67; emphasis added.) The term “personal injury” is
                       23 defined in the NY Marine policy’s Comprehensive Personal Liability Coverage
                       24 provision to include “oral or public written publication of material that slanders or
                       25 libels a person or organization including other forms of defamation.” (FAC, Ex. A
                       26 [ECF-5-1] at 56 of 67.) In turn, the term “occurrence” is defined to mean “an accident,
                       27 including continuous or repeated exposure to conditions, which results during the
                       28 policy period, in: ... c. ‘personal injury.’” Id.
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                    14
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 22 of 31 Page ID #:947




                           1        The limiting phrase “to which this coverage applies” unambiguously makes
                           2 clear that NY Marine’s duty to defend does not apply to claims which fall outside the
                           3 scope of the policy’s coverage or are otherwise excluded from coverage. See Venoco,
                           4 Inc. v. Gulf Underwriters Ins. Co., 175 Cal.App.4th 750, 765 (2009) (“The phrase ‘to
                           5 which this insurance applies’ is not ambiguous. This qualified provision is not an
                           6 agreement to defend all suits or to defend actions that fall outside the coverage
                           7 provisions.”); Morris v. Atlas Assurance Co., 158 Cal.App.3d 8, 14 (1984) (phrase
                           8 “to which this insurance applies” indicates the policy’s “broad personal liability
                           9 insurance” is “subject…to the specific exclusionary provisions of the policy.”); Jaffe
                       10 v. Cranford Ins. Co. (1985) 168 Cal.App.3d 930, 936 (duty to defend is not unlimited
                       11 but is “subject to the conditions and limitations contained in” the policy including all
                       12 applicable exclusions); Montrose Chem. Corp. v. Superior Ct., 6 Cal.4th 287, 301
                       13 (1993) (an insurer has no defense obligations where “the underlying claim cannot
                       14 come within the policy coverage by virtue of the scope of the insuring clause or the
                       15 breadth of an exclusion.”).
                       16           As explained in Stellar v. State Farm Gen. Ins. Co., “[d]efamation, which
                       17 includes libel and slander, is an intentional tort which requires proof that the defendant
                       18 intended to publish the defamatory statement … [t]he very nature of defamation
                       19 precludes the conclusion that it can occur ‘accidentally.’” 157 Cal.App.4th 1498, 1505
                       20 (2007) (citing Allstate Ins. Co. v. LaPore, 762 F.Supp. 268, 271 (N.D.Cal. 1991));
                       21 Tradewinds Escrow, Inc. v. Truck Ins. Exch., 97 Cal.App.4th 704, 714 (2002) (“to the
                       22 extent the Feltus action states a claim for defamation, it would also be excluded …
                       23 because such tort cannot occur accidentally”); N. Am. Specialty Ins. Grp. v. Am. Int'l
                       24 Grp., Inc., 2009 WL 10671492, at *8 (C.D.Cal. 2009) (granting summary judgment
                       25 against insurer’s contribution claim where targeted insurer’s policy’s “personal
                       26 injury” coverage for defamation was subject to an accidental “occurrence”
                       27 requirement and there was “no evidence before this Court that [the insured] made any
                       28 of the allegedly defamatory statements which formed the basis for [the claimant’s]
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                              15
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 23 of 31 Page ID #:948




                           1 claims against her accidentally.”); Lyons v. Fire Ins. Exchange, 161 Cal.App.4th 880,
                           2 887-890 (2008) (Insurer properly rejected tender of suit alleging “false
                           3 imprisonment”, an offense enumerated in its policy’s definition of “personal injury”,
                           4 because insured’s “mental miscalculation” of Plaintiff’s “state of mind simply cannot
                           5 transform his intentional conduct, done with full knowledge of all objective facts, into
                           6 an accident.”).
                           7        Here, Heard’s statements which form the basis of the allegations in the Depp v.
                           8 Heard action did not involve negligent publication because Heard herself deliberately
                           9 made the statements purportedly from her own personal knowledge. (FAC, Ex. B
                       10 [ECF-5-2] at 5, 6.) Thus, none of the allegations of the Depp v. Heard Complaint
                       11 allege an “accident” but instead only allege deliberate defamation by implication for
                       12 which insurance coverage is precluded by Insurance Code §533. See §II.B.2., supra.
                       13 Consequently, Heard could not have had a “reasonable expectation” of a defense to a
                       14 defamation claim which was not based on the happening of an “accident.”
                       15           C.     NY Marine’s Fourth Cause Of Action For Declaratory Relief Based
                                           On Heard’s Lack Of Cooperation Is Not Moot, But Should Be
                       16                  Determined In NY Marine’s Favor As A Matter Of Law
                       17           In her First Amended and Supplemental Answer and Counterclaim, Heard
                       18 alleges that in extending her defense under reservation of rights, “New York Marine
                       19 refused to agree to defend Ms. Heard through independent counsel and instead
                       20 appointed its own counsel. Despite requests from Ms. Heard to reconsider, New York
                       21 Marine persisted in its position, making it impossible for Ms. Heard to fully accept
                       22 this ‘defense’ provided by New York Marine without out prejudicing her defense in
                       23 the Depp lawsuit.” (Amended Answer and Counterclaim [ECF-36] at 22:6-11;
                       24 emphasis added.)
                       25           Where a policy, such as the NY Marine policy here, imposes upon it the duty
                       26 to defend and gives it the right to appoint counsel (FAC, Ex. 1, at 53), the insureds’
                       27 refusal to accept that defense relieves the insurer of the obligation to pay the insured’s
                       28 defense costs. See, e.g., Twin City Fire Ins. Co. v. Ben Arnold-Sunbelt Beverage Co.
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                 16
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 24 of 31 Page ID #:949




                           1 of South Carolina, LP, 336 F.Supp.2d 610, 622 (D. S.Ca. 2004) (insured’s wrongful
                           2 refusal of insurer’s proffered defense through appointed counsel relieved insurer of
                           3 all liability for defense costs); Sargent v. Johnson, 551 F.2d 221, 231-232 (8th Cir.
                           4 1977) (“the insured's conduct in discharging defense counsel provided by the
                           5 insurance carrier ... constituted a violation of terms of the existing policies” and
                           6 “relieved” the insurer of its duties); Reynolds v. Maramorosch, 208 Misc. 626, 628,
                           7 144 N.Y.S.2d 900, 904 (Sup.Ct. N.Y. 1955) (stating that the insured “may refuse the
                           8 legal representatives proffered him by the carrier”, but that “it may result in a breach
                           9 of the contract and consequently relieve the carrier of its responsibility under the
                       10 policy”); Midiman v. Farmers Ins. Exch. 90 Cal.Rptr.2d 85, 99 (Cal.Ct.App. Dec. 3,
                       11 1999) (insured’s “decision to reject appointed counsel and go forward … was done at
                       12 its own risk”); OneBeacon Am. Ins. Co. v. Celanese Corp., 84 N.E.3d 867, 876-877
                       13 (Mass.App. 2017).
                       14           Thus, where an insured, based on their mistaken belief of an entitlement to
                       15 independent counsel, refuses to accept a defense through counsel rightfully appointed
                       16 by the insurer, the insurer is relieved of the duty to defend and the insured cannot
                       17 recover any resulting defense costs which they incur through their independent
                       18 counsel. In Federal Ins. Co. v. MBL, Inc., 219 Cal.App.4th 29, 35 (2013), the insured,
                       19 MBL, tendered its defense to several insurers, each of which, including Federal,
                       20 extended a defense subject to a “general” reservation of rights. Id. at 38. However,
                       21 MBL “refused to allow the Insurers' appointed counsel to associate as defense
                       22 counsel, asserting it was entitled to independent counsel of its own choosing pursuant
                       23 to Civil Code §2860.” Id. at 35. After MBL defended itself through counsel which it
                       24 selected, one insurer—Great American—reimbursed MBL for its defense costs, while
                       25 the remaining insurers which also had duties to defend, had rights to do so through
                       26 their own appointed counsel and had offered to do so, refused to either pay the cost
                       27 of the insured’s separately retained independent counsel or to reimburse Great
                       28 American for an equitable share of its costs of paying the insured’s independent
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                              17
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 25 of 31 Page ID #:950




                           1 counsel. Id. MBL and Great American in turn brought suit against the insurers which
                           2 declined to fund MBL’s defense via independent counsel, asserting various claims
                           3 including, as relevant, a claim for equitable contribution by Great American. Id. In
                           4 granting summary judgment in favor of the insurers which did not agree to defend
                           5 through independent counsel, the Court observed that “none of the Insurers disputed
                           6 their duty to defend MBL”, that their “general” reservations of rights did not trigger
                           7 the insured’s right to independent counsel, but that “MBL, however, insisted on
                           8 retaining independent counsel, rather than allowing counsel appointed by the Insurers
                           9 to conduct its defense.” Id. at 47-49. Accordingly, the Court concluded that “MBL
                       10 was not entitled to independent counsel”, that the trial court properly granted the
                       11 insurers’ summary judgment motion against MBL and that “none of the Insurers
                       12 (including Great American) were ever obligated to reimburse MBL for the fees
                       13 generated by that counsel”. Id. at 49. See also, Roussos v. Allstate Ins. Co., 104
                       14 Md.App. 80, 91 (Ct.Spec.App.Md. 1995) (“[T]here was no conflict of interest
                       15 between Roussos and Allstate that required it to fund an attorney of her choosing ….
                       16 Her failure to do so negated Allstate's obligations…”); Mount Vernon Fire Ins. Co. v.
                       17 VisionAid, Inc., 91 F.Supp.3d 66, 73 (D.Mass. 2015) (where insured refused defense
                       18 through appointed counsel and demanded independent counsel which the insurer was
                       19 not obligated to provide, insurer “has no obligation to relinquish its defense of [the
                       20 insured] or to permit [the insured] to utilize independent counsel at its expense.”);
                       21 Northern Cty. Mut. Ins. Co. v. Davalos 140 S.W.3d 685, 690 (Tex. 2004); State Farm
                       22 Mut. Auto. Ins. Co. v. Goddard, 484 P.3d 765, 773 (Colo.Ct.App. 2021); Park
                       23 Townsend, LLC v. Clarendon Am. Ins. Co., 916 F.Supp.2d 1045, 1056-1057
                       24 (N.D.Cal. 2013).
                       25           In her Judgment on the Pleadings Motion, Heard asserts that “she seeks
                       26 reimbursement of defense costs only for her independent counsel in the Depp lawsuit.”
                       27 (Heard’s Motion [ECF-55-1] 8:21-22, emphasis added; see also Robinson Declaration
                       28 [ECF-55-2] 5:1-13.) And as the Court observed in its tentative ruling on NY Marine’s
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                               18
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 26 of 31 Page ID #:951




                           1 Motion to Dismiss Heard’s First Amended Counterclaim (later confirmed in its Order
                           2 of March 17, 2023), “it appears to the Court that Heard’s breach of contract-failure to
                           3 defend, failure to cover expenses-counterclaim, rests entirely on the success of her
                           4 theory that NY Marine was required to provide her with independent ‘Cumis’
                           5 counsel, and could not fulfill its defense duties simply by appointing the Cameron
                           6 McEvoy PLLC firm (the firm that Heard herself had already retained before tendering
                           7 her defense to NY Marine.” (Tentative Ruling [ECF-46] at 5.)
                           8        The Comprehensive Personal Liability Coverage provision of the NY Marine
                           9 policy on which its fourth cause of action is based, like the policies of the insurers in
                       10 Federal Ins. Co. v. MBL, Inc. and the other cases cited above, only obligates NY
                       11 Marine to “provide a defense at our expense by counsel of our choice...” (FAC, Ex.
                       12 A [5-1] at 53 of 67.) NY Marine’s fourth cause of action seeks a determination that it
                       13 has no duty to defend Heard based on her violation of the policy’s “Duties After Loss”
                       14 provision obligating her to “help” NY Marine “with the conduct of suits and attend
                       15 hearings and trials.” (FAC, Ex. A [ECF-5-1] at 56-57 of 67.) Clearly, Heard’s refusal
                       16 to accept NY Marine’s appointment of Cameron McEvoy PLLC (whom Heard had
                       17 originally retained before her tender to NY Marine) amounted to failing to “help” NY
                       18 Marine “with the conduct of suits.”
                       19           Heard’s allegation that she could not “fully accept” the defense proffered by
                       20 NY Marine because it was “impossible” for her to do so does not alter the analysis. A
                       21 defense proffered by an insurer is not logically divisible in any way. Rather,
                       22 California law is clear that an insurer’s offer of a defense subject to a reservation of
                       23 rights only “permits the insured to decide whether to accept the insurer's terms for
                       24 providing a defense, or instead to assume and control its own defense.” Scottsdale
                       25 Ins. Co. v. MV Transportation, 36 Cal.4th 643, 656 (2005) (emphasis added). Thus,
                       26 an insured cannot “partially” accept an insurer’s proffered defense and their failure to
                       27 fully accept such a defense amounts to a rejection thereof. However, since NY Marine
                       28 unquestionably had the right to appoint its own counsel and the Court, in its Order of
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                 19
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 27 of 31 Page ID #:952




                           1 March 13, 2023, concluded that Heard was not entitled to independent counsel
                           2 notwithstanding Heard’s assertion “that it was impossible” for her to “fully accept” NY
                           3 Marine’s defense through its appointed counsel, it follows that Heard has essentially
                           4 admitted that she refused to “help” NY Marine with “conduct of suits.” (Amended
                           5 Counterclaim [ECF 36] 9-10.)
                           6        As to Heard’s claim of mootness as to NY Marine’s fourth cause of action
                           7 seeking a determination that its duty to defend is excused by virtue of her failing to
                           8 “help” NY Marine “with the conduct of suits and attend hearings and trials”, the
                           9 determination of whether an insured has breached the cooperation clause is normally
                       10 not even addressed until after the underlying action has been resolved. In United Servs.
                       11 Auto. Assn. v. Martin, 120 Cal.App.3d 963, 966 (1981), an insurer’s declaratory relief
                       12 action seeking a determination of no coverage due to the insured’s lack of cooperation
                       13 was dismissed on demurrer and the Court of Appeal affirmed, explaining “[l]ogically,
                       14 the required showing of prejudice cannot be made while the main tort action is still
                       15 pending, its outcome uncertain, and therefore declaratory relief against the injured
                       16 persons at this stage is inappropriate. To permit speculation at this stage as to whether
                       17 the insurer may or will be prejudiced in the main tort action would be inconsistent
                       18 with the requirement laid down by our Supreme Court that the insurer must prove
                       19 prejudice in order to assert the insured's lack of cooperation as a defense against the
                       20 injured persons.” Arch Specialty Ins. Co. v. Beacon Healthcare Servs., Inc., 2023 WL
                       21 2347396, at *6 (C.D.Cal. 2023) (following Martin). Clearly, since NY Marine’s
                       22 fourth cause of action could not be determined until after the underlying Depp v.
                       23 Heard action was concluded, it cannot now be considered moot.
                       24 / / /
                       25 / / /
                       26 / / /
                       27 / / /
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                      20
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 28 of 31 Page ID #:953




                           1 III.          CONCLUSION
                           2               For the foregoing reasons, this Court should deny Heard’s Motion for Judgment
                           3 on the Pleadings and grant NY Marine’s Cross-Motion for Judgment on the Pleadings.
                           4
                           5 Dated: June 22, 2023                         McCORMICK, BARSTOW, SHEPPARD,
                                                                              WAYTE & CARRUTH LLP
                           6
                           7
                                                                         By:       /s/ James P. Wagoner
                           8
                                                                                       James P. Wagoner
                           9                                                        Nicholas H. Rasmussen
                                                                                    Graham A. Van Leuven
                       10
                                                                         Attorneys for Plaintiff and Counter-Defendant
                       11                                                  New York Marine and General Insurance
                                                                                           Company
                       12
                       13      9184045.1

                       14
                       15
                       16
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
                       26
                       27
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                            21
   CARRUTH LLP                  MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 29 of 31 Page ID #:954




                           1                          CERTIFICATE OF COMPLIANCE
                           2        The undersigned, counsel of record for Plaintiff and Counter-Defendant New
                           3 York Marine and General Insurance Company, certifies that this brief contains 6,976
                           4 words, which complies with the word limit of Local Rule 11-6.1, excluding the parts
                           5 of the document exempted by Local Rule 11-6.1.
                           6
                           7 Dated: June 22, 2023                      McCORMICK, BARSTOW, SHEPPARD,
                                                                           WAYTE & CARRUTH LLP
                           8
                           9
                                                                     By:        /s/ James P. Wagoner
                       10
                                                                                   James P. Wagoner
                       11                                                            Lejf E. Knutson
                                                                                Nicholas H. Rasmussen
                       12
                                                                                Graham A. Van Leuven
                       13                                            Attorneys for Plaintiff and Counter-Defendant
                                                                       New York Marine and General Insurance
                       14
                                                                                        Company
                       15
                       16
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
                       26
                       27
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &                                                        22
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 30 of 31 Page ID #:955




                           1                                   PROOF OF SERVICE
                           2        New York Marine and General Insurance Company v. Amber Heard
                                    USDC Central District of California, Case No. 2:22-cv-04685-GW-PD
                           3
                               STATE OF CALIFORNIA, COUNTY OF FRESNO
                           4
                                   At the time of service, I was over 18 years of age and not a party to this action.
                           5 I am employed in the County of Fresno, State of California. My business address is
                             7647 North Fresno Street, Fresno, CA 93720.
                           6
                                   On June 22, 2023, I served true copies of the following document(s) described
                           7 as MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S
                             MOTION FOR JUDGMENT ON THE PLEADINGS AND IN SUPPORT OF NEW YORK
                           8 MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS on the interested
                               parties in this action as follows:
                           9
                                                        SEE ATTACHED SERVICE LIST
                       10
                                 BY ELECTRONIC SERVICE (E-MAIL): Based on a court order or an
                       11 agreement of the parties to accept electronic service, my electronic service address is
                          heather.ward@mccormickbarstow.com, and I caused the document(s) to be sent to
                       12 the persons at the electronic service address(es) listed in the Service List. I did not
                          receive, within a reasonable time after the transmission, any electronic message or
                       13 other indication that the transmission was unsuccessful.
                       14        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                          the document(s) with the Clerk of the Court by using the CM/ECF system.
                       15 Participants in the case who are registered CM/ECF users will be served by the
                          CM/ECF system. Participants in the case who are not registered CM/ECF users will
                       16 be served by mail or by other means permitted by the court rules.
                       17      I declare under penalty of perjury under the laws of the United States of
                          America that the foregoing is true and correct and that I am employed in the office of
                       18 a member of the bar of this Court at whose direction the service was made.
                       19            Executed on June 22, 2023, at Fresno, California.
                       20
                       21                                                        /s/ Heather Ward
                                                                            Heather Ward
                       22
                       23
                       24
                       25
                       26
                       27
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP                  MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720            PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
             Case 2:22-cv-04685-GW-PD Document 59-1 Filed 06/22/23 Page 31 of 31 Page ID #:956




                           1                                SERVICE LIST
                                    New York Marine and General Insurance Company v. Amber Heard
                           2       USDC Central District of California, Case No. 2:22-cv-04685-GW-PD
                           3 Kayla Robinson                                Attorneys for Defendant and Counter
                             Kirk A. Pasich                                Claimant Amber Heard
                           4 Pasich LLP
                             10880 Wilshire Blvd., Suite 2000
                           5 Telephone: (424) 313-7890
                             krobinson@pasichllp.com
                           6 kpasich@pasichllp.com
                        7 John T. Brooks                      Courtesy Copy – Via Email
                          Jeffrey V. Commisso
                        8 Andrea S. Warren                    Attorneys      for      Plaintiff   and
                          Sheppard, Mullin, Richter & Hampton Counterclaimant Travelers Commercial
                        9 LLP                                 Insurance Company in USDC Central
                          501 W. Broadway, 19th Floor         District Case No. 2:21-cv-05832-GW,
                       10 San Diego, CA 92101                 consolidated for pre-trial purposes
                          Telephone: (619) 338-6500
                       11 Email: jbrooks@sheppardmullin.com
                          Email: jcommisso@sheppardmullin.com
                       12 Email: awarren@sheppardmullin.com
                       13
                       14
                       15
                       16
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
                       26
                       27
                       28
MCCORMICK, BARSTOW,
 SHEPPARD, W AYTE &
   CARRUTH LLP                 MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO HEARD’S MOTION FOR JUDGMENT ON THE
7647 NORTH FRESNO STREET
    FRESNO, CA 93720           PLEADINGS AND IN SUPPORT OF NEW YORK MARINE’S CROSS-MOTION FOR JUDGMENT ON THE PLEADINGS
